UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                         -------------x
SHIRLYN SUMMERS, as Mother andNatural Guardian,                                   Civil ActionNo. l7-cv-1495
of Infant, D.B. and SHIRLYN SUMMERS,Individually,

                                                   Plaintifß,                     ANSWER
                 -against-

LONG BEACH CITY SCHOOL DISTRICT a/k/a LONG
BEACH PUBLIC SCHOOLS, LISA V/EITZMAN, JEAN
MARIE LILLEY, LAUREN SCHNEIDER, SABRINA
CANTORE, VINCENT RUSSO, DR. RANDIE BERGER,
DR. MICHELE NATALI, DAVID WEISS, in their
individual and official capacities and JOHN AND JANE
DOE'S l-20, whose identities are unknown at present,

                                                   Defendants.


        Defendants, LISA V/EITZMAN, JEAN MARIE                     LILLEY and LAUREN SCHNEIDER,

by their attorneys, Congdon, Flaherty, O'Callaghan, Reid, Donlon, Travis                      &   Fishlinger, Esqs.,

state, upon   information and belief, for their   ans\ryer   to plaintiffs' complaint:

                        ANSV/ERING THE PRELIMINARY SJATEMENT

        1.       Defendants deny each and every allegation contained in paragraph numbered "1"

of the plaintiffs' complaint.

        2.       Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"2"                 of   the   plaintiffs' complaint.

        3.       Defendants deny each and every allegation contained in paragraph numbered'03"

of the plaintiffs' complaint.

        4.       Defendants deny having knowledge or information sufficient to form a belief as to

                                                                      oo4"
each and every allegation contained in paragraph numbered                    of the plaintiffs' complaint
except deny that any inhumane deprivations of DB's rights by LISA WEITZMAN, JEAN

MARIE LILLEY and LAUREN SCHNEIDER,

                               ANSWERING AS TO PARTIES

       5.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered   "5" of the plaintiffs' complaint.

       6.     Defendants deny having knowledge or information sufficient to form a belief as to

                                                            oo6"
each and every allegation contained in paragraph numbered          of the plaintiffs' complaint.

       7.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"T" of the plaintiffs' complaint.

        7a.    Defendants deny having knowledge or information sufficient to form a belief as

                                                                         oo7"
to each and every allegation contained in second paragraph numbered             of the plaintiffs'

complaint.

       8.     Defendants deny having knowledge or information sufficient to form a belief as to

                                                            oo8"
each and every allegation contained in paragraph numbered          of the plaintiffs' complaint.

        8a.    Defendants deny having knowledge or information sufficient to form a belief as

to each and every allegation contained in second paragraph numbered'o8" of the plaintiffs'

complaint.

       9.      Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered   "9" of the plaintifß' complaint

       10.     Defendants deny having knowledge or information sufficient to form a belief as to

                                                            0010"
each and every allegation contained in paragraph numbered           of the plaintifß' complaint

except admit that LISA WEITZMAN is a tenured special education teacher and employee                  of

Long Beach Public Schools.




                                                a
         1   1.1


         12.       Defendants deny having knowledge or information sufficient to form a belief as to

                                                                 ool2"
each and every allegation contained in paragraph numbered                of the plaintiffs' complaint

except admit that JEAN MARIE LILLEY is a full time teaching assistant and employee of Long

Beach Public Schools.

         13.       Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph       numbered"l3" of the plaintiffs' complaint

except admit that LAUREN SCHNEIDER was a full time teaching assistant and employee of

Long Beach Public Schools.

         14.       Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedool4" of the plaintiffs' complaint.

         15.       Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered        "l5" of the plaintiffs'   complaint.

         16.       Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedoo16" of the plaintiffs' complaint.

         17.       Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedutT" of the plaintiffs' complaint.

         18.       Defendants deny having knowledge or information sufficient to form a belief as to

                                                                 o'18" of the plaintiffs' complaint
each and every allegation contained in paragraph numbered

except deny that any abuse was perpetrated by LISA WEITZMAN, JEAN MARIE LILLEY and

LAUREN SCHNEIDER or that an investigation was conducted or that an investigation was

conducted.


I   The complaint does not contain a paragraph I I




                                                     -3-
        19.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedo'19" of the plaintiffs' complaint.

        20.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedoo20" of the plaintiffs'complaint.

                            ANSWERING FACTUAL ALLEGATIONS

        21.     Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph   numbered"2l" of the plaintiffs' complaint.

        22.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbere doo22" of the plaintiffs' complaint.

        23.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"23" of the plaintiffs' complaint.

        24.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered'024" of the plaintiffs' complaint.

        25.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedoo2s" of the plaintiffs'complaint.

        26.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedoo26" of the plaintiffs' complaint.

        27.     Defendants deny each and every allegation contained in paragraph numberedoo2T"

of the plaintiffs' complaint.

        28.     Defendants deny each and every allegation contained in paragraph numberedoo2S"

of the plaintiffs' complaint.

        29.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered((29" of the plaintiffs' complaint.




                                               -4-
          30.   Defendants deny each and every allegation contained in paragraph numbered "30"

of the plaintiffs' complaint.

          31.   Defendants deny each and every allegation contained in paragraph numbered '031"

of the plaintiffs' complaint.

          32.   Defendants deny each and every allegation contained in paragraph numbered'32

of the plaintiffs' complaint.

          33.   Defendants deny each and every allegation contained in paragraph numbered"33"

of the plaintiffs' complaint.

          34.   Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numberedoo34" of the plaintiffs' complaint and

refer all questions of law and fact to this Honorable Court and the triers of fact at the trial of this

action.

          35.   Defendants deny each and every allegation contained in paragraph numberedoo35"

of the plaintiffs' complaint.
                                                                                          0036"
          36.   Defendants deny each and every allegation contained in paragraph numbered

of the plaintiffs' complaint.

          37.   Defendants deny each and every allegation contained in paragraph numbered*37"

of the plaintiffs' complaint.

          38.   Defendants deny each and every allegation contained in paragraph numbered "38"

of the plaintifß' complaint.

          39.   Defendants deny each and every allegation contained in paragraph numbered "39"

of the plaintifß' complaint.




                                                  -5-
        40.     Defendants deny each and every allegation contained in paragraph numberedoo40"

of the plaintifß' complaint.

        41.     Defendants deny each and every allegation contained in paragraph numbered
                                                                                            0041"



of the plaintiffs' complaint.

        42.     Defendants deny each and every allegation contained in paragraph numbered "42"

of the plaintiffs' complaint.

        43.     Defendants deny each and every allegation contained in paragraph numbered "43"

of the plaintiffs' complaint.

        44.     Defendants deny each and every allegation contained in paragraph numbered
                                                                                          0044"


of the plaintiffs' complaint.

        45.     Defendants deny each and every allegation contained in paragraph numbered*45"

of the plaintiffs' complaint.

        46.     Defendants deny each and every allegation contained in paragraph numbered "46"

of the plaintifß' complaint.

        47.     Defendants deny each and every allegation contained in paragraph numberedoo4T"

of the plaintiffs' complaint.

        48.     Defendants deny each and every allegation contained in paragraph numbered
                                                                                            0048"



of the plaintifß' complaint.

        49.     Defendants deny each and every allegation contained in paragraph numbered "49"

of the plaintifß' complaint.

        50.     Defendants deny each and every allegation contained in paragraph numbered "50"

of the plaintiffs' complaint.




                                              -6-
        51.     Defendants deny each and every allegation contained in paragraph numbered          "5l"
of the plaintiffs' complaint.

        52.     Defendants deny each and every allegation contained in paragraph numberedoo52"

of the plaintiffs' complaint.

        53.     Defendants deny each and every allegation eontained in paragraph numbered
                                                                                          0053"


of the plaintiffs' complaint.

        54.     Defendants deny each and every allegation contained in paragraph numberedoo54"

of the plaintiffs' complaint.

        55.     Defendants deny each and every allegation contained in paragraph numbered*ss"

of the plaintiffs' complaint.

        56.     Defendants deny each and every allegation contained in paragraph numbere      d"56"

of the plaintiffs' complaint.

        57.     Defendants deny each and every allegation contained in paragraph numbered"57"

of the plaintiffs' complaint.

        58.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered   "58" of the plaintifß' complaint

except deny that any abuse occurred.

        59.     Defendants deny each and every allegation contained in paragraph numbered"sg"

of the plaintiffs' complaint.

        60.     Defendants deny having knowledge or information sufficient to form a belief as to

                                                            0060"
each and every allegation contained in paragraph numbered           of the plaintiffs' complaint

except deny that any abuse occurred.




                                               -7   -
        61.     Defendants deny each and every allegation contained in paragraph numberedoo6l"

of the plaintiffs' complaint.

        62.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedoo62" of the plaintiffs' complaint.

        63.     Defendants deny each and every allegation contained in paragraph numbered"63"

of the plaintiffs' complaint.

        64.     Defendants deny each and every allegation contained in paragraph numbered"64"

of the plaintiffs' complaint.

        65.     Defendants deny each and every allegation contained in paragraph numbered"65"

of the plaintiffs' complaint.

        66.     Defendants deny each and every allegation contained in paragraph numbered"66"

of the plaintiffs' complaint.

        67.     Defendants deny each and every allegation contained in paragraph numbered"67"

of the plaintiffs' complaint.

        68.     Defendants deny each and every allegation contained in paragraph numberedoo6S"

of the plaintiffs' complaint.

        69.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedo'69" of the   plaintifß' complaint

except deny that any abuse occurred.

        70.     Defendants deny each and every allegation contained in paragraph numberedo'70"

of the plaintifß' complaint.




                                               -8-
           71.   Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedooTl" of the plaintiffs' complaint

except deny that any abuse occurred or that LISA WEITZMAN was suspended.

           72.   Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedooT2" of the    plaintifß' complaint

except deny that LISA WEITZMAN was suspended.

           73.   Defendants deny having knowledge or information sufÍicient to form a belief as to

each and every allegation contained in paragraph numbered"T3" of the     plaintifß' complaint.

           74.   Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"'74" of the plaintiffs' complaint.

           75.   Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"75" of the plaintiffs' complaint

except deny that any abuse occurred or that LISA V/EITZMAN was suspended.

           76.   Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedooT6" of the plaintiffs' complaint

except deny that any abuse occurred.

           77.   Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numberedooTT" of the plaintiffs' complaint and

refer the Court to the letter for the substance thereof.

           78.   Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedooTS" of the plaintiffs' complaint

except deny that any abuse occurred and otherwise refer the Court to the letter for the substance

thereof.




                                                  -9   -
       79.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbereduT9" of the plaintiffs' complaint

except deny that any abuse occurred.

       80.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered   "80" of the plaintiffs' complaint

except deny that LISA V/EITZMAN, and LAUREN SCHNEIDER smoked marijuana on school

grounds.

       81.    Defendants deny having knowledge or information sufficient to form a belief as to

                                                          6681"
each and every allegation contained in paragraph numbered       of the plaintiffs' complaint.

       82.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"82" of the plaintiffs' complaint

except deny that any abuse occurred.

       83.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedooS3" of the plaintiffs' complaint

except deny that any abuse occurred.

       84.     Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered   "84" of the plaintiffs' complaint

except deny that any abuse occurred.

       85.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered   "85" of the plaintifß' complaint

except deny that any abuse occurred.

       86.     Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedooS6" of the plaintiffs' complaint




                                              -10-
except admit that LISA WEITZMAN's 3020-a hearing is ongoing and deny that any abuse

occurred.

         87.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numberedooST" of the plaintiffs' complaint

except deny that any abuse occurred.

         88.    Defendants deny having knowledge or information suffrcient to form a belief as to

                                                          oo88"
each and every allegation contained in paragraph numbered       of the plaintiffs' complaint

except deny that any abuse occurred.

         89.    Defendants deny having knowledge or information sufficient to form a belief as to

                                                       0089"
as   to each and every allegation paragraph numbered           contained in plaintiffs' complaint

except deny that any abuse occurred.

         90.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered        "90" of the plaintiffs' complaint.

         91.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph   numbered"9I" of the plaintiffs' complaint.

         92.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"92" of the plaintiffs' complaint.

         93.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"93" of the plaintiffs' complaint.

         94.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered"94" of the plaintiffs' complaint.

         95.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedo'95" of the plaintiffs' complaint.




                                               - 11-
                            ANSWERING THE FIRST CAUSE OF ACTION

           96.     In response to the allegations set forth in paragraph numbered'196" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses    set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

           97.     Defendants deny having knowledge or information sufÍicient to form a belief as to

each and every allegation contained in paragraph numberedo'g7" of the plaintiffs' complaint

except deny any injury to DB, abuse to DB or the use of drugs or alcohol while in the care of DB

by LISA WEITZMAN, LAUREN SCHNEIDER or JEAN MARIE LILLEY and refer all

questions of law and fact to this Honorable Court and the triers of fact at the trial of this action.

           98.     Defendants deny each and every allegation contained in paragraph numbered "98"

of the plaintiffs' complaint.

           99.     Defendants deny each and every allegation contained in paragraph numbered''gg"

of the plaintiffs' complaint.

           100.    Defendants deny each and every allegation contained in paragraph numbered

'01   00" in plaintiffs' complaint.

           101. Defendants deny each and every allegation contained       in paragraph numbered

"l 0 1" in plaintiffs' complaint.

                          ANSWERING THE SECOND CAUSE OF ACTION

           102. In response to the allegations set forth in paragraph numbered*102" of the
plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses    set forth   in

the preceding paragraphs inclusive of this ans\ryer, as if fully set forth herein.

           103. Defendants deny having knowledge or information suffrcient to form a belief as to
each and every allegation contained in paragraph numbered       "l03" of the plaintiffs'   complaint.




                                                  -t2-
                I04.     Defendants admit each and every allegation contained in paragraph numbered

"I04" of the plaintifß' complaint.

                105.     Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered'0105" of the plaintiffs'complaint.

                106. Defendants       deny each and every allegation contained in paragraph numbered

('106"
               of the plaintiffs' complaint.

                I07.     Defendants deny each and every allegation contained in paragraph numbered

ool07"
               of the plaintiffs' complaint.

                108.     Defendants deny each and every allegation contained in paragraph numbered

'o 1   08" of the plaintiffs' complaint.

                109.     Defendants deny each and every allegation contained in paragraph numbered

oo
     109" of the plaintifß' complaint.

                                 ANSV/ERING THE THIRD CAUSE OF ACTION

                110.     In response to the allegations set forth in paragraph numbered       "1l0" of the
plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses             set forth   in

the preceding paragraphs inclusive of this answer, as          if fully   set forth herein.

                111.     Defendants deny each and every allegation contained in paragraph numbered

oo
     II   l"   of the plaintifß' complaint.

                ll2.     Defendants deny to each and every allegation contained in paragraph numbered

" | 12" of the         plaintiffs' complaint.

                113.     Defendants deny each and every allegation contained in paragraph numbered

oo
     I 13" of the plaintiffs' complaint.




                                                        -13-
             II4.    Defendants deny each and every allegation contained in paragraph numbered

'oII4" of the plaintiffs' complaint.

                             ANSV/ERING THE FOURTH CAUSE OF ACTION

             115.     In response to the allegations set forth in paragraph numbered'0115" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses    set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

             116.     Defendants deny each and every allegation contained in paragraph numbered

oo116"
            of the plaintifß' complaint.

             lI7.     Defendants deny each and every allegation contained in paragraph numbered

"117" of the plaintiffs' complaint.

                                              THE FIFTH CAUSE OF

             118.     In response to the allegations set forth in paragraph numbered
                                                                                     00118"
                                                                                            of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses    set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

             119.     Defendants deny to each and every allegation contained in paragraph numbered

"I19" of the plaintiffs' complaint.

             120.     Defendants deny each and every allegation contained in paragraph numbered

ooI20"
            of the plaintiffs' complaint.

             l2l.     Defendants deny each and every allegation contained in paragraph numbered

oo
     l2I"   of the plaintiffs' complaint.

             I22. Defendants deny each and every allegation contained in paragraph numbered
" 122" of the       plaintiffs' complaint.




                                                     -14-
          123. Defendants deny each and every allegation contained in paragraph numbered
ool23"
         of the plaintiffs' complaint.

          124.    Defendants deny each and every allegation contained in paragraph numbered

ool24"
         of the plaintiffs' complaint.

                          ANSV/ERING THE SIXTH CAUSE OF ACTION

          125. In response to the allegations   set forth in paragraph   numbered*I25" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

          126.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered*126" of the plaintiffs'complaint.

          127.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph    numbered*t27'of the plaintifß'complaint.

          128.    Defendants deny each and every allegation contained in paragraph numbered

'o128" of the plaintiffs' complaint.

          l2g. Defendants deny each and every allegation contained in paragraph numbered
"I29" of the plaintifß'complaint.

          130.    Defendants deny having knowledge or information sufficient to form a belief as to

                                                          00130"
each and every allegation contained in paragraph numbered        of the plaintiffs'complaint

except deny that any child in LISA WEITZMAN's class was subjected to abuse.

          131. Defendants deny each and every allegation contained        in paragraph numbered

o'131"
         of the plaintiffs' complaint except deny that any abuse occurred.

          132.    Defendants deny each and every allegation contained in paragraph numbered

o'132"
         of the plaintiffs' complaint.




                                                 -15-
              133.    Defendants deny each and every allegation contained in paragraph numbered

ool33"
             of the plaintiffs' complaint.

              I34.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph           numbered*l34 of the plaintifß' complaint

except deny that plaintiff was subjected to any abuse at the hands of LISA WEITZMAN, JEAN

MARIE LILLEY             OT   LAUREN SCHNEIDER.

              135.    Defendants deny each and every allegation contained in paragraph numbered

'o   13   5" in plaintiffs' complaint.

              136.    Defendants deny each and every allegation contained in paragraph numbered

oo136"
             in plaintiffs' complaint.

              t37.    Defendants deny each and every allegation contained in paragraph numbered

"137" of the plaintiffs' complaint.

              138.    Defendants deny each and every allegation contained in paragraph numbered

"1    38" in plaintiffs' complaint.

                              ANSWERING THE SEVENTH CAUSE OF ACTION

              139. In response to the allegations   set   forth in paragraph numbered*139" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses     set forth   in

the preceding paragraphs inclusive of this ans\ryer, as       if fully   set forth herein.

              140.    Defendants deny each and every allegation contained in paragraph numbered

"I40" of the plaintiffs' complaint.

              I4l.    Defendants deny each and every allegation contained in paragraph numbered

ool4l" in plaintifß' complaint.




                                                     -t6-
           I42.      Defendants deny each and every allegation contained in paragraph numbered

*142" contained in plaintiffs' complaint.

           I43.      Defendants deny each and every allegation contained in paragraph numbered

     I 43" in plaintiffs' complaint
oo




           144. Defendants deny each and every allegation contained       in paragraph numbered

oo|44"
          of the plaintiffs' complaint.

           145.      Defendants deny each and every allegation contained in paragraph numbered

ooI45"
          of the plaintiffs' complaint.

           146.      Defendants deny each and every allegation contained in paragraph numbered

"    146 in plaintiffs' complaint.

                            ANSWERING THE EIGHTH CAUSE OF ACTION

           I47.      In response to the allegations set forth in paragraph numbered"l47" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

           148.      Defendants deny each and every allegation contained in paragraph numbered

o'148"
          of the plaintiffs' complaint.

           I49. Defendants deny each and every allegation contained in paragraph numbered
"149" in plaintiffs' complaint.

           150.      Defendants deny each and every allegation contained in paragraph numbered

ool50"
          of the plaintiffs' complaint.

           151   .   Defendants deny each and every allegation contained in paragraph numbered

ool51"
          in plaintiffs' complaint.




                                                    -17 -
           I52.    Defendants deny each and every allegation contained in paragraph numbered

oo
     | 52" in plaintifß' complaint.

           153. Defendants      deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered "153" of the plaintiffs'complaint.

           I54.    Defendants deny each and every allegation contained in paragraph numbered

ool54"
          of the plaintiffs' complaint.

           155. Defendants      deny each and every allegation contained in paragraph numbered

oo155"
          of the plaintifß' complaint.

           156. Defendants      deny each and every allegation contained in paragraph numbered

oo156"
          of the plaintiffs' complaint.

           I57.    Defendants deny having any knowledge or information sufficient to form a belief

as    to each and every allegation contained in paragraph numbered"ls7" of the plaintiffs'

complaint.

           158. Defendants      deny each and every allegation contained in paragraph numbered

'ol   58" of the plaintiffs' complaint.

                           ANSWERING THE NINTH CAUSE OF ACTION

           159.    In response to the allegations set forth in paragraph numbered "159" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

           160. Defendants      deny having knowledge or information sufficient to form a belief as to

                                                          00160"
each and every allegation contained in paragraph numbered        in plaintiffs'complaint.

           16I.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph      numbered*16I" of the plaintifß'complaint.




                                                  -18-
           162. Defendants      deny each and every allegation contained in paragraph numbered

oo162"
          of the plaintiffs' complaint.

           163.    Defendants deny each and every allegation contained in paragraph numbered

"163" of the plaintiffs' complaint.

           164.    Defendants deny each and every allegation contained in paragraph numbered

"164" in plaintiffs' complaint.

                           ANSWERING THE TENTH CAUSE OF ACTION

           165.    In response to the allegations set forth in paragraph numbered "165" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

           166.     Defendants deny to each and every allegation contained in paragraph numbered

"166" in plaintiffs' complaint.

            167.   Defendants deny each and every allegation contained in paragraph numbered

"167" in plaintifß' complaint.

           168.    Defendants deny each and every allegation contained in paragraph numbered

'0168" of the    plaintifß' complaint.

            169.   Defendants deny each and every allegation contained in paragraph numbered

'o   I 69" of the plaintifß' complaint.

           170.    Defendants deny each and every allegation contained in paragraph numbered

o'170"
          of the plaintiffs' complaint.

           17l.    Defendants deny each and every allegation contained in paragraph numbered

'ol'71" of the plaintiffs' complaint.




                                                  -19-
                       ANSWERING THE ELEVENTH CAUSE OF ACTION

          172.    In response to the allegations set forth in paragraph numbered'0172" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this ans\¡rer, as if   fully set forth herein.

          173.    Defendants deny each and every allegation contained in paragraph numbered

ool73"
         of the plaintiffs' complaint.

          174. Defendants      deny each and every allegation contained in paragraph numbered

"174" of the plaintiffs' complaint.

          175.    Defendants deny each and every allegation contained in paragraph numbered

ool75"
         of the plaintifß' complaint.

          176.    Defendants deny each and every allegation contained in paragraph numbered

ool76"
         of the plaintiffs' complaint.

          177.    Defendants deny each and every allegation contained in paragraph numbered

ool77"
         of the plaintifß' complaint.

                        ANSV/ERING THE TWELFTH CAUSE OF ACTION

          178. !n response to the allegations   set forth in paragraph     numbered*l79" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this ans\iler, as   if fully   set forth herein.

          179.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph    numbered*I79" of the plaintiffs'complaint

and refer all questions of law and fact to this Honorable Court and the triers of fact at the trial    of

this action.




                                                 -20 -
              180.    Defendants deny having knowledge or information sufÍicient to form a belief as to

each and every allegation contained in paragraph numbered         "l80" of the plaintiffs' complaint.
              181.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered o'181" of the plaintiffs' complaint.

              I82.    Defendants deny each and every allegation contained in paragraph numbered

oo
     182" of the plaintifß' complaint.

              183.    Defendants deny each and every allegation contained in paragraph numbered

oo
     I   83" of the plaintiffs' complaint.

              184.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered'0184" in         plaintifß' complaint except

deny that plaintiff was subjected to abuse at the hands of LISA V/EITZMAN, JEAN MARIE

LILLY         and   LAUREN SCHNEIDER.

              185.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered 00185" in plaintiffs'complaint.

              186.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered o'186" in plaintiffs'complaint except

deny that plaintiff was subjected to abuse at the hands of LISA V/EITZMAN, JEAN MARIE

LILLY         and   LAUREN SCHNEIDER.

              187. Defendants      deny each and every allegation contained in paragraph numbered

oo
     187" in plaintiffs' complaint.

              188.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered         "l88" in plaintiffs' complaint   except

deny that any abuse occurred.




                                                     -2r   -
          189.    Defendants deny each and every allegation contained in paragraph numbered

00189"
         in plaintiffs' complaint.

          190.    Defendants deny each and every allegation contained in paragraph numbered

"   I90" in plaintiffs' complaint.

                      ANSWERING THE THIRTEENTH CAUSE OF ACTION

          191.    !n response to the allegations set forth in paragraph numbered*19I" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this answer, as if fully set fonh herein.

          192.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered*192" of the plaintiffs' complaint

and refer all questions of law and fact to this Honorable Court and the triers of fact at the trial    of

this action.

          193.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered*I93" of the plaintiffs'complaint

and refer all questions of law and fact to this Honorable Court and the triers of fact at the trial    of

this action.

          194.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered*194" of the plaintiffs'complaint

and refer all questions of law and fact to this Honorable Court and the triers of fact at the trial    of

this action.

          195.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered "195" of the plaintiffs'complaint




                                                 -22-
and refer all questions of law and fact to this Honorable Court and the triers of fact at the trial   of

this action.

          196.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered*196" of the plaintiffs' complaint.

          197.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numberedool9T" in plaintiffs' complaint.

          198.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered      "l98" in plaintiffs' complaint.
          199.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph    numbered*I99" in plaintiffs'complaint.

          200.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered"200. in plaintiffs'complaint except

deny that any abuse was perpetrated by LISA WEITZMAN, JEAN MAzuE LILLEY and

LAUREN SCHNEIDER.

          201.    Defendants deny each and every allegation contained in paragraph numbered

oo20l"
         in plaintiffs' complaint.

          202.    Defendants deny each and every allegation contained in paragraph numbered

00202"
         in plaintifß' complaint.

          203.    Defendants deny each and every allegation contained in paragraph numbered

"203" in plaintiffs' complaint.




                                                 -23 -
                                       THE

            204.   !n response to the allegations set forth in paragraph numbered"204" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses      set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

            205.    Defendants deny having knowledge or information suffrcient to form a belief as to

each and every allegation contained in paragraph numbered*205" in plaintiffs' complaint and

refer all questions of law and fact to this Honorable Court and the triers of fact at the trial of this

action.

            206.    Defendants deny each and every allegation contained in paragraph numbered

00206"
           in plaintiffs' complaint.

            207.    Defendants deny each and every allegation contained in paragraph numbered

00207"
           in plaintiffs' complaint.

                         ANSWERING THE FIFTEENTH CAUSE OF ACTION

            208.    In response to the allegations set forth in paragraph numbered*209" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses      set forth   in

the preceding paragraphs inclusive of this answer, as      if fully   set forth herein.

            209.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered*2}9" in              plaintifß'complaint except

deny that any injuries were sustained by DB.

            2I0.    Defendants deny each and every allegation contained in paragraph numbered

oo2l0"
           in plaintiffs' complaint.

            2Il.    Defendants deny each and every allegation contained in paragraph numbered

"21   l"   in plaintiffs' complaint.




                                                   -24 -
           212.    Defendants deny each and every allegation contained in paragraph numbered

o'212"
          in plaintiffs' complaint.

                        ANSWERING THE SIXTEENTH CAUSE OF ACTION

           213.    In response to the allegations set forth in paragraph numbered*2I3" of the

plaintiffs' complaint herein, defendants, repeat, reiterate and reallege their responses    set forth   in

the preceding paragraphs inclusive of this answer, as if   fully   set forth herein.

           214.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph numbered oo2l4" in plaintiffs'complaint refer

all questions of law and fact to this Honorable Court and the triers of fact at the trial of this

action.

           2I5.    Dcfcndants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph     numbered*2I5'in plaintiffs'complaint.

           216.    Defendants deny each and every allegation contained in paragraph numbered

oo2I
       6" in plaintiffs' complaint.

                      ANSWERING THE SEVENTEENTH CAUSE OF ACTION

           2I7.    In response to the allegations set forth in paragraph numbered"2l7" of the

plaintiffs' complaint herein, defendants , repeat, reiterate and reallege their responses   set forth   in

the preceding paragraphs inclusive of this answer, as if fully set forth herein.

           2I8.    Defendants deny having knowledge or information sufficient to form a belief as to

each and every allegation contained in paragraph     numbered"2l8" in plaintiffs'complaint refer

all questions of law and fact to this Honorable Court and the triers of fact at the trial of this

action.




                                                 -25-
         2I9.     Defendants deny each and every allegation contained in paragraph numbered

oo2l9"
         in plaintiffs' complaint.

          220.    Defendants deny each and every allegation contained in paragraph numbered

00220"
         in plaintiffs' complaint.

         22L      Defendants deny each and every allegation contained in paragraph numbered

"221" in plaintiffs' complaint (delineated   as   paragraph"32l").



                         AS AND FOR A FIRST AFFIRMATIVE DEFENSE

          222.    If plaintiffs have been injured and damaged    as alleged in the complaint, upon

information and belief, such injuries and damages were caused, in whole or in part, or were

contributed to by reason of the carelessness, negligence or want of care on the part of the

plaintiff and not by any carelessness, negligence or want of care, on the part of the defendants,

and   if any carelessness, negligence or want of    care other than that of the   plaintiff caused or

contributed to said alleged injuries and damages, it was the carelessness, negligence or want           of

care on the part of some other party or persons,     firm or corporation, his, its or their agents,

servants or employees over whom defendants, had no control and for whose, carelessness,

negligence or want of care defendants was not and is not responsible or liable.




          223.    Whatever injuries andlor damages were purportedly sustained by plaintiff at the

time and place alleged in the complaint were in whole or in part the result of plaintiff s own

culpable conduct.




                                                   -26 -
                        AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       224.    Plaintiffs' complaint fails to state a cause of action   as against these answering

defendants.

                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

        225. Plaintiffs    failed to mitigate damages, if any, which they may have sustained as a

result of the matters alleged in the complaint.

                        AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       226.    Upon information and belief, any past or future costs andlor expenses incurued or

to be incurred by the plaintiff for medical care, dental care, custodial care or rehabilitation

services, loss of earnings or other economic loss, has been or   will with reasonable certainty   be

replaced or indemnified in whole or in part from a collateral source as defined in Section 4545(c)

of the New York Civil Practice Law and Rules.

       227.    If any   damages are recoverable against the said answering defendants, the amount

of such damages shall be diminished by the amount of the funds which plaintiffs have or shall

receive from such collateral source.

                        AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        228.   Plaintiffs have failed to exhaust all administrative remedies.

                    AS AND FOR A SE                  AFFIRMATIVE DEFENSE

       229.    Defendants at all times acted reasonably and in good faith in the discharge of their

duties and responsibilities and, are therefore, entitled to qualified/absolute immunity.




                                                  -27 -
                     AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        230.    Defendants' conduct did not violate clearly established Constitutional or statutory

rights of which a reasonable person would have known and defendants had an objectively

reasonable belief that their conduct did not violate     plaintiffls rights.

                       AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        231.    Plaintiffs failed to satisfy certain conditions precedent to bringing an action and/or

certain causes of action against these answering defendants.

                       AS AND FOR A TENTH AFFIRMATIVE DEFENSE

        232.    Defendants did not act maliciously or with       ill will toward plaintiffs.

                              F                                       TIVE

        233.    Defendants were not motivated by an intention to discriminate on the basis     of
impermissible consideration, to punish or inhibit the exercise of constitutional rights or by a

malicious or bad faith intent to injure plaintiff.

                     AS AND          A TWELFTH AFFIRMATIVE DEFENSE

        234.    Defendants fully complied with all provisions of the Constitution of the United

States, Constitution of the State of New York and all applicable laws, rules and regulations.

                  AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

        235.    Defendants' actions were not arbitary, conscious shocking or oppressive and

were not a gross abuse of governmental authority.

                  AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

       236.     That defendants at all times relative to plaintiffs' complaint fully complied with

all provisions of the Constitution of the United States, the Constitution of the State of New York

and all applicable laws, statutes, rules and regulations.




                                                     -28 -
                   AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

       237.    There is no individual liability under the Americans with Disabilities Act.

                   AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

       238.    Defendants are entitled to Qualified Immunity with respect to those acts that were

performed pursuant to their duties and responsibilities.

                  AS AND FOR A                          AFFIRMATIVE DEFENSE

       240.    Plaintiffs' complaint, to the extent that it   seeks exemplary or punitive damages,

violates defendants' constitutional right to procedural due process under the Fourteenth

Amendment of the United States Constitution, and the Constitution of the State of New York,

and, therefore, fails to state a cause of action upon which either punitive or exemplary damages

can be awarded.

                  AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

       241.    Plaintiffs' complaint, to the extent that it   seeks exemplary or punitive damages,

violates defendants' constitutional right to protection from "excessive fines" as provided in the

Eighth Amendment of the United States Constitution, and Article 1, $ 5 of the constitution of the

State of New York, and violates defendants' constitutional right to substantive due process duly

provided in the Fifth and Fourteenth Amendments of the United States Constitution and the

Constitution of the State of New York, and therefore, fails to state a cause of action supporting

the punitive or exemplary damages claimed.




                                                -29 -
       WHEREFORE, defendants, LISA WEITZMAN, JEAN MARIE LILLEY and LAUREN

SCHNEIDER, demand judgment dismissing the plaintiffs' complaint herein, together with the

costs and disbursements of this action.



Dated: Uniondale, New York
       March 28,2017

                                          Respectfully submitted,

                                          CONGDON, FLAHERTY, O'CALLAGHAN,
                                          REID, DONLON, TRAVIS & FISHLINGER


                                          B
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